                       7007 :71D
Case 0:16-cv-60289-DPG Document 47 nnnn  GëbM
                                    Entered    1371 Docket 02/22/2017 Page 1 of 14
                                            on FLSD

                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                      ( CISE N0. 16-cv-60289-GlYLES)


 KXITED STATES OF AMERICA )                                 FILED by        D
       plaintiff          )                                                 .   C.
                          )
                          )                                ' FEB 2 1 2217
                          )                                  STEVENM LARIMORE
 Joe garry peggrand       )                                  CLERKUb asTcT
 Dolores E. pegg          )                                   s.D,offlX -MI
                                                                          XMI
                                                                            .


     Defendants,          )
                          )


                  Defendant's Motion In Opposition To
               Government 's Motion Wor Summary Judgment
              And Dfendant's Hotion For Summary Judgment


      Movant disputes the facts in the Government's Xotion for

 Summary Judgment at pgs. 2 and 3 .
     nThe moving Party 'bears the initial burden           showing the

 Court,      r'eferences to materials on file ,
                                              '' that there are no

 genuine issues of material fact.'' celotex Corp .           Catrett,

 U .S.           (1986).
      This the government has failed         do by making 'bare boned '

 allegations and legal conclusions that are anything but clear with

 no evidence to support their position. The non-moving party will

 identlfy the facts and evidence in this case with particularity

 that precludes Summary Judgment for the Government.

 Issue      The Movant disputes bhe facts in the Government's Motion

 a t page

     ls conceded in the government's brief at pgs . 4 and 5, Joe
 Harry Pegg ls was liened under the Victims and Witness Protection

      (V%PA). This lien cannot be enforced under the Xandatory
 Victim Restitution         (MVRà). See United States        Futrell,
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 2 of 14

 F.3d 1286 (11th Cir. 2000) (following United States            Siegel ,

 F.3d 1256 (11th Cir. 1998).
     ''We have already determined that the XVRA clearly does not

     apply to a defendant whose criminal conduct occurred and

     ceased prlor       âpril 24 , 1996 .''

     Joe Harry Pegg 's critinal conduct occurred and ceased prior to

 âpril 24, 1996 , and to apply the MVRA          Pegg would raise àerious

 ex post facto concerns. O1d limitation perlod of 20 years from

 judment must be applied        this case.
 Issue 11     Movant disputes the facts alleged in the governmentfs

 motion for summary judgment at pgs. 5,6,7.
     The governmeht cites United States           Ryals, 48O F .3d 1101 ,

 1110 (11th Clr. 2007) (quotlng In re Sïnnreich,            F.3d 1295,
 1297-98 (11th Cir. 2004); where the Court stated citing Bankruptcy
 Case 1aw .

     ''Holdlng that under Maryland law property held in 'tenancy by

 the entireties' estate is validly exempt from bankruptcy creditors

 of one spouse under Sec. 522(b)(2)(B); also citing In Re Kelly,
 289 B.R.           (Bankr.     Del. 2003) (concluding Craft, is
 inapplicable holding that l.under Deleware law' and (522(b)(2)(B))
 property held      an entireties estate is validly exempt, and may

not be reached by the creditors of one spouse.f') See also e.g.
Schossberg       Barney, 380 F.3d 17/8, 182 (4th Cir. 2004) C fDeclining
                                 .   #

 to extendcraft, iolding that Chapter 7sBankruptcy trustee pro-
 ceeding pursuant to Sec . 544 of the Bankruptcy Code 'cannot stand

 in the shoes of the IRS in tax collection context in order to

 reach property held in tenancy by            entireties exempted under
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 3 of 14

        522(b)(2)(B). See also             re Ryan, 282 B.R. 742, 75O
 (bankr. D.R.I. 2002) (NNotlng that Craft, glves no indication that
 the reasoning therein should be extended beyond 'federal tax lawb'b).
      It is Pegg 's contention that the 26 USC Sec . 3621 lien was not

 allowed under Florida Law :

      ''In Florida , property held by spouses under       tenancy by the

 entireties cannot , except in very limited situations , be reached

 to satisfy the indivldual debt         obligation of either spouse .
 Because of the unique nature of a tenancy by the entireties under

 Florlda Law , a judgment llen cannot attach to real property held
 in usuch an estate under Fla. Stat. lnn.           55.10 (1967): and since
 property held by the entireties is not subject to levy and sale
under execution , an execution lien cannot attach thereto . See United

States V . Ameridan National Bank of Jacksonville , 255 F .2d 504 ,

5O6 (CA 5 1958) See also Bonner          City of pritchard,         F.2d
1206(11th Cir. 1981) (en banc) the Eleventh Circuït adopted
precçdent the decisions        the former Fifth Circuit issued before
October      1981 .
     ''Ve do not question the rules that llens for Federal taxes and

     the manner of their enforcement àre matters which are governed

     by the Federal Law . Bank of Nevada        United States , 9       Cir .,
1957,       F .2d 820 . However , the rules of property and fixing the

incldents      property ownership are rules         state 1aw 'which
Federal Courts will respect. Poe V. Seaburn , 282 U .S . '101,

             L .Ed . 239 . The question as to whether a lien for taxes

owing to the United States by a husband attached            property held
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 4 of 14

 by the entireties was considered          the Elghth Circuit Court

 lppeals .     said:

 ***# the individual interest of the husband or wife in an estate by

 the entireties 1s, like a ralnbow in the sky or the mourning fog
 rising from the valley , not such an estate as may be subjected
          1
                                               .


 grasp of an attaching creditor or which will permit the adherence
      .                                    .                          '

 of a tax lien . We are not at liberty to change the nature of elther .
 United States      Hutcherson , 8th Cir . 1951, 188 F.2d 326 , 331,

 affirming Hutcherson V . United States , D .C .W .D . M o . 1950 , 92 F .

 Supp. 168. See Rafiaele V. Granges, 3d Cir. 1952,                        620. .
     It is Pegg's contention that the 26 PSC                3621 lien under
 Florida Law was not allowed under Fla .
                                                   Stat. Ann. Sec. 55.10 (1967)
 and the lien is void , ab initio .

     See De Gazelle Grp ., Inc. V . Tamaz Trading Establiéhment , 817

F.3d 747 (11th Cir. 2016): states in part:'
     ''The remedy for a vold judgment          order is similarly limited-
the only relief available is           the court to set it aside . . . ''

     See also Baldwin       United states , United '
                                                   States District Court
     For the Southern     District of Florida , 8O5 F . Supp . 1026 : 1992
P .S . Dist. Lexis 17069 : 6 Fla . Weekly Fed .               Case No. 9O-
14O65-cv-Gonza1ez December 2 , 1992 , Opinlon was affirmed by the

Eleventh Circuit       a per curium Opinion at 11 F . 3d 166 : 1993 U .S .

lpp. Lexis 3165 . The government petitioned the Supreme Court for
Certiorari    whlch was denied October 3 , 1994 , Reported at : 1994 P .S .
Lexis 6590 . Thls Court Stated:
    ''I.R .C . Sec . 3565 references collection of criminal fines in
the manner of a tax lien as a method of enforcem ent . The provision

does not indicate that the Congress meant to fundamentally change



                                   ((4)
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 5 of 14

    the property rights       innocent third parties whq are tenants
                           per4ons later convicted           crines and fined

                        such is the intention of Congress ,           must be
'
    more clearly stated . Tax liens 'are not enforceable ' against a

    tenacy by the entireties because the entireties property               not

    severable .''

         The government in Baldwin , cited Pnited States             Rodge/s ,

            2132 (1983) ahd U.S.             One Single Family Residencç 894

    2d         (11th      1990); for authority. the Baldwin stated:
         ''zs with Rogers , the defendant 's reliance on 0ne Single Family

    Residence, is selective on the issue             preemption , that court

    noted that criminal forfeiture statutes are              be enforced

    Hirrespective       any provision of state law.'' 21 USC Sec. 853(a)
    No such express exemption exists in 18 USC Sec . 3565 or in 26 USC

    Sec.fs 6321 and 7403 , the statutes at issue here . Moreover , this

    is not an area where federal 1aw excludes state law or in which
    state 1aw is       actual conflict. To the contrary ; state 1aw has

    traditionally given ''meaning             content to federal statutesl'
    this area . Davies Warehouse Co .           Bowles, 321 U .S . 144 , 155,

            474, 480, 88 L.Ed.           (1944).'The analysis of Judge Fay
    footnote     of One Single Family Residence , so heavily relied              by

    the Pnited States , is premised on the explicit preemption provisions
    found      applicable 'forfeitute statutes.' Ko such premise exists
                                   . .   ë

with the execution of criminal fines .''

         Therefore any and a11 the forfeiture cases cited by the govern-

ment in its motion for summary judgment are misplaced and not well
taken .

         ''The argument glossed over by the Znited States is that to gr4nt



                                              (5)
    Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 6 of 14
     the government's request would be       'Fifth Amendment taking.' Xrs .

-   Baldwin vs interest          subject property     an undivided right

    ownership and occupancy . To somehow convert this interest
         '
     'tena ncy zn comm on ' w ould be      fundamentally change her ownership

    lnterest and deprive her of her property .          tenancy by the entirety

      is by definition an undivided right of possession , title , and

     enjoyment of the whole property. One Single Family Residence, 894
     F.2d at 1516 .           government cannot unilaterally attack this ïnterest
     and frequire Mrs. Baldwin to take half of the proceeds as her share .
      'She          not own   share ,' she owned the entlre house . ''

     ''Ordered and Adjudged that the defendant United States of lmerica's
     motion for summary judgment           denied. The plaintiff's motion for

     summary judgment          granted. The proceeds of the sale          the

     plaintiff 's property shall be released           the plaintiff 's and final

     judgment           enter accordingly.r
             Baldwin , and the issuès contained therein , were decided in this

     Court and the 1aw of the case 1aw and res judicata controll.
                is Pegg's contention that the tenancy bj the enti/eties
     exemption interest was not and           not the equivalent         equity
     ln teres t .

     Issue          Pegg should not be charged interest on the fine.

             Pegg didn 't know until years after his sentencing order that
    he was paying interest on thq fine. He was never f'noticed'' by the

    government, Probation or his a'
                                  ttorneys, or the court . Nothing in
     the court records lndicated that he was being charged interest ,             on

    the fine.

         In 2015 Pegg was provided a statement of account                the clerk 's

    office of United States District Court, Xiddle District                 Florida ,

    Oklàhio Florida stating that Pejg owed a balance             $295, 751.50
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 7 of 14
 and that he had payed $204,248.50 toward the balnce, with no interest
 accrued. See (Exhibit-ll..
    Nothing in the Statement        Account indicated that interest was

'being charged .

    Vnder 18 USC Sec. 3572(d)(1). 1'A person sentenced to pay a fine
or other monetary penalty , lncluding restitution         shall

make such payment immediately, unless, ln the interest of justlcq,
the court provides for payment on a date certain or            installments ...''

    The Cou-rt ordered Pegg to pay ln monthly installment at his sent-

encing : ''Okay . Based upon the financial information available tö me

   the Presentence Report,         ''assumlng'' that        accurate? and

in rellance upon that flnancial information , defendant            hereby

ordered to pay a fine of $500,000,00. Xonthly payments are to begin
and continue durïng the defendantls lncarceration. The balance of
any unpaid portion is to be paid while on supervised release at a

monthly rate to be determined        the United States Probation Office
who shall provide a probation officer access to any requested fin-

ancial informatlon subject to the perjury laws           the Uùlted States.
 See Sentencing Trans. at page

     See 18 USC Sec. 3612 (f)(1)(2).
       ''interest , monetary penalties ffor delinquency ,' and default .
 IUpon a determination of willful non-payment , f the rcourt may impose '
 the followlng interest and monetary penalties. Pegg was ordered to

 make payments during his incart eration and make payments of the

 unpaid pottion while on supervised release. Pegg has complied with

 his IFRP while being incarcerated . See e .g. Johnpoll           Thomburg ,
)                               .
                                                                                 '
               Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 8 of 14
@               898 F @2d 849 : 85l (2d Cir. 1990) (noting that IFRP serves valid        .



     ,..- n.
           - ..-..-pen.o.
                        lo.
                          gi ca l 'in te r.es t   and is'-ful-ly consist en't wi th' rh e- Buf'ëafl'of                       ''- ''- ''
                                                                                                              '' .
l               Frlsons authorizàtion m..to provide for Rehabilitation and reform-
j                    *
)
j             'ation).                   '
t                        Pegg complied with his IFRP until one day he noticed that staff
)                                                                     .
I               had returned iis IFRP payment and placed it back on his books. Con-
1
r                                       '                                                                                .

                cerned, Pegg notified staff to find out what was going on .and was
)
.



t
.
                told; The collection of the fine was no longer ah issue because the
                                                                                                     .                       .

î               fine had explred and the B . O .P . made clear that no money was owing

t               from the prisoner             for the fine due to it being expired. Staff
i
.
.
                                          ,
                                                                       ..<   '
i
.

ï               notified Pégg this cam e from the court .
f                     Under 18 USC Sec . 3612(f)(1)(2) the fine was not delinquent E
.L                   .
)
i
)               until the end of Pegg fs supervised release then he would :e yn
)
:               default .
r
'                                                             .
                                                                                     .

y '
,                     It is obvious to the most casual of observers that 'it is unlikely
y                                                                                            '                                   '
è               that probation would attempt to set up a schedule for @ payment                                                           '

k               plan on a fine that was expired and no longer owing .
@                     It is Pegg's contention that the interest on tie fine could-
               not accrue until the day his Supervised Release was over , lf he did

               not have the fine paid by then . The l'
                                                     anguage ln 18 USC Sec. 3612 is
    y          plain and unambiguous in its reading . The fine did not become .,'
(
               delinquent until that time , then Pegg would be in default of the
!
l              contract he enter ed into with the District court at the tlme of
(              his sentencing . See Page
                                     '   '   . Sent. Trans .
                                         23 bf
'                                                                                                        .,
    j.
    1
2              Summary Judgment: Under Rule 56(b) of the Fed. R. Civ. P. a
                           -




    )          defendinj party against whom relief is sought may move, with or
    t          without supporting affidavits, for Summary Judgment on a11 or part
    è
    q

    ,
    j
    ;          oftheclaim. .                             ..       s.
                                                                                                 .
                                                                                                                     .


    r    .


    1                .                               .
    :.
                                                                  (8)
    ,
    1
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 9 of 14

       It ls Pegg's contention that the lien judgment placed on he and
  his wife's property ls ''void'' from its inception . The lien judgment

  was not allowed by Florida Law , supra , at the time the government

  placed the lien. This judgment should be set aside in 1ts entirety
  and the Peggfs be re-imbursed for a11 legal fees that his family
  has expended ln this case .

      Therefore Pegg respectfully moves this court to take lnto con-

  sideration that        MVRA and Forfeiture cases cited in the Bovern-
  ment fs motion for Summary Judgment are inapposite to the issues

  involved in the instant case.

      Therefore Pegg respectfully moves for Summary Judgment in the

  above-styled case because the Court cannot enforce            ''void judgment''
  without becoming a ''Trespasser'' itself.

                                            Respectfully Submitted,



                        p/z/pa/z Jo/HaryPegg 1204
                                            F edera 1 M e dica1 C ente r ,
                                            P .0 . Box 14500
                                            L exin gton KY 4O 512
 Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 10 of 14
                                                                           (EXHIBIT-I)
         y'      '
    +6A9XDl#r#z
     .           cz.
 . 47 tzee''-'s$. toy
                   a
'
:
g
j
/k
 '
 .
 a
 *
      .'   )    ,   6
                    *..
                      j
                     .*
                      :*         U NITED STATES DISTRICT CO U RT
d
i
'
y
-e ' *i
l

$ .-
                                    M IDDLE DISTR ICT O F FLO RIDA
 x
     *
     N q s                                    OFFICE OF THE CLERK
         N   .                               4n1 w .c nt IB     Iv d
                                            o rlando,   Cori
                                                           Taalt'
                                                                n
                                                                l-lllc
SherylL.Loesch                                                                                    TeI.:407-835-4200
Clerk ofCourt                                                                                     Fax: 407-835-4228

                                                        03/24/2015




 Joe Harry Pegg
 Federal.kledicalGenter
 PO Box 14500
 UnitHCU
 Lexington,KY 40512

                                                     Re:Case 2:94-CR-38


  DearM r.Pegg
  Please find aoached the repod you requested.

  Feelfree to contactme i
                        fyou have any otherquestions.




     Sincerely,
r                          r .
     Natasha Hurd
     407-835-4248
     Natasha Hurdo flmd.uscourts.nov




     Jacksonville Division    Ocal
                                 a Division            Orlando Di
                                                                vision      Tampa Division          Fort Myers Division
     U.S.Ceurtbouse           U.S.Courthouse     .     U.S.Courtheuse       U.S.Courthouse          tJ.s.courthouse
     :00 Nnrth Hogan Street   2û7 N.W.Second Ave.      401W .CentralBlvd    801 N.FloridaAvenue     2110 FirstStreet
     Jacksonville;FL 32202    Ocala,FL 34475           Orlando,FL 32801     Tam pa,FL 33602         FortMyers,FL 33901
         Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 11 of 14

                                                                 x
                                                                 r:                           Mw x
                                                                                                 n                              c
                                                                 e2.                                                            wc;
.v-   -.- . -                                              .Uf%. 8r..v         c'
                                                                               o.- .
                                                                               .   c
                                                                                   o.. *MN     9
                                                                                               :
                                                                                               >
                                                                                                    '
                                                                                                    J
                                                                                                    Q
                                                                                                                                ;w
                                                                                                                                 N..a. ...
                                                            =Q %<                       X      >    $z                          M
                                                             /. r                      %<
                                                                                        zqz   t<    5                           C
                                                                                                                                -3
                                                             T x                               w
                                                                                               >:   r
                                                                                                    =z                          u,
                                                                                                                                to
                                                            ..<: .                 .                                            ()11
                .                                            n g  x           (
                                                                              on   n
                                                                                   o    >
                                                                                        p'    q.-                               u
                                                                                                                                uo'
                                                             o' :
                                                             Q    =           z
                                                                              <    z
                                                                                   <    -
                                                                                        tuM
                                                                                       'C
                                                                                        >      r
                                                                                               o
                                                                                               M                                >
                                                             * r:             o c n -, r                                        K
                                                                              o -
                                                                              - c o
                                                                                  r. x: yu
                                                                                        r                                       m
                                                            '-
                                                           =n                 4n
                                                                              tx t
                                                                                 **
                                                                                  m    R n
                                                                                       o
                                                                                       >  zx                                    >!
                                                            Ch                         *. te
                                                            =
                                                            X                 u. u. pv    '
                                                                                          =-             .
                                                            o
                                                            >                 o o x                 c
                                                                                                    o
                                                           ,<                 N1 tm X               ='
                                                            v                         2
                                                            R
                                                            a                         9*
                                                                              y.<t hR fb
                                                                                                    C1
                                                                             M M                    o
                                                                             Q Q
                                                                                                    c



                                                                             c O
                                                                             & c >
                                                                             l lg
                                                                                r
                                                                                o                            = C1
                                                                             o c
                                                                             c o Q                           o >
                                                                             c c m
                                                                               &
                                                                             & c uo
                                                                             G c >-
                                                                                       o
                                                                                                             Y
                                                                                                             M2
                                                                             O M                             Qr
                                                                                                              :
                                                                                                             %< ..
                                                                                                              U
                                                                                                              0
                                                                                                                >
                                                                                       o                      - M
                                                                                       c'                    => r
                                                                                                                  ;
                                                            >                          =
                                                                                       o                     d
                                                                                                             *.   m o
                                                                                                                  4*
                                                            o                                                M    Q >
                                                                                                                    u
                                                                                                             =    x =
                                                                                                                  o o
                                                                                                             o
                                                                                                             X    o r t
                                                                                                                  o - a
                                                                                                                      '
                                                           =                                                  Y
                                                                                                              x o
                                                                                                                u mr .-
                                                                                                             #  x.a <.
                                                                                                             -< w     n
                                                                                                                      o
                                                                                                             o        M r
                                                                                                             O Y > >
                                                                                                             U
                                                                                                             o >
                                                                                                               M o r
                                                                                                             e
                                                                                                             x- '<- =e
                                                                                                             Ft X Q
                                                                                                             =
                                                                                                                r
                                                                                                             KH
                                                                                                             œ X
                                                                                                               w.
                                                                                                             Q
                                                                                                             = +>.
                                                                                       >
                                                                                       o                     H x
                                                                                       o                     Q o
                                                                                       >                     1
                                                                                                             œ
                                                                                                               *
                                                                                       V                     x n
                                                                                                             R c
                                                                                                             = =
                                                                                                             r
                                                                                                             : 2
                                                                                                               N
                                                           >                                                 d >
                                                           o
                                                           >
                                                           Q             o   o
                                                           q          P =   R
                                                                      o o=  E
                                                                      = c p O
                                                                      1
                                                           =             o:7 i
                                                                             o> o
                                                                                c #
                                                                                  a
                                                           q                      =

                                                           &                           o
                                                           =
                                                           Q                           T
                                                                         & &
                                                           Q
                                                           N          *,p
                                                                        x    .;x       C5
                                                                      tw     sz        Q.
                                                                      =
                                                                      .>     .
                                                                             c>o c     &'                                   <
                                                           Q          '
                                                                      un     u   io    Qe                                   O
                                                                                                                            M
                                                           Q          =      o o       =
                                                                                       o                                    *
                                                                                                                            Q
                                                                                                                            <
                                                                                       H
                                                                                       o
                                                                                       T
                                                                                                                             =
                                                                                       Q                                    QQ
                                                                      m m              &*
                                                                      ':u '<           p
                                                                       %A tn           >
                                                                      .-n* l
                                                                      L    .n
                                                                            e o
                                                                              p Q
                                                                                R
                                                                                -                                           &
                                                                                                                            =
                                                                      & o & 14
                                                                                                                            W1
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 12 of 14



  T
  U
  S
  o
  n
  i
  u
  :
  tC
   e
   h
   d
   l
   e
   rn
    S
    k
    t
    D
    a
    i
    t
    oe
     f
     s
     t
     C
     ro
      i
      D
      u
      c
      l
      s
      r
      to
       r
       f
       i
       cF
        t
        l
        C
        o
        ru
         i
         r
         d
         a
         t
  Ferguson Courthouse
  400 N . Miami Avenue
  Milmi FL 33128
                                                                                     t
  Case No . 16-60289-Civ-Gay1es


   From : Joe Harry Pegg #07012-004
          Federal Medical Center,
          P.O . Box 14500
          Lexington KY 40512


  Dear CLERK ,
  I respectfully inform the Court that I am not being provided with
  proper service from the Court. Although I have been provided with
  the Government's response to my Motion under Rule 59(e) of Fed.           R.
  Ciov.      I have not been provided with a11 the court's orders in
  this case .      filed a motion for extenslon of time that the Court
  received the same day as lt denied my motion pursuant to Rule 59(e).
    had my neice who is an attorney check on pacer and she informed
             ;
  me that my Hotion for extention of time was received on the same
  day that the Court dismissed my Motion according to pacer . I would
  ask the Court to clarify why I did not receive this order or if my
  case is still proceeding or what. This letter is not intended to
  delay or hinder the proper administration of the Court , but to
  protect my rights in this very important case .
          thank you for your time and consideration           thls very import-
  an t ma tter .



                            qjzlaoty              ,'
                                                       A
                                                       Respectfully/
                                                          .
                                                                   .
                                                                   r
                                                                   >
                                                                   .          ...z




                                               Jo Harry Pegg        12-
                                               Federal Medical Center,
                                               P.O . Box 14500 , HCP Pnit
                                               Lexington KY 40512




                                 One of 0ne
Case 0:16-cv-60289-DPG Document 47 Entered on FLSD Docket 02/22/2017 Page 13 of 14

                            CERTIFICATE 0F SERVICE

          Joe Harry Pegg do certify and affirm that          did cause to be
      4
   placed into the P .S . mail service one copy of my Hotion in opposition
   to the government's Motion for Summary Judgment by placing into the

   hands of mail room officials said copy with postage for first-class

   mail attached to Danielle Croke, Esq. AUSA , Pnited States Attorney ,

   99 N.E. 4th Street Suite 300 , Miami FL 33132 .



                                             Respectfully Submitted ,




                        a/n/ao/7             oe arry P
                                            Federal Medi al Center,
                                                                   12   t
                                            P.O . Box 14500
                                            Lexington KY 40512




                                  0ne     0ne
                                                              .
                                                                                                                                                                                      .t
                                                       a       # '' ï
                                                               :                                                                                                                  u       z   ;. t?'     ;'v,
                                                                                                                                                                                                       . .. ..
                                                                                                                                                                                                         .. .
                                                                                                                                                                                                             Jt
                                                                                                                                                                                                              vx ..
                                                                                                                                                                                                                  &:.
                    Case 0:16-cv-60289-DPG Document
                                                 ' 47 I&EI
                                                 1     Entered
                                                           h52:on  FLSD
                                                                    #- u- - Docket
                                                                  DDD:                    02/22/2017
                                                                            - .. - - . - .-
                                                                           :1lD      lBDl   - - - -  Page 14 of 14                                                                                            '
                                                                                                                                                                                                                                                                                                                  .



'
d
*                                                                                                                                                              f


             ...N.- . ..n.
                                >-x xw.x.*7                                   .
                                                                                  w ='x.'--.-. -.                                                              I
                                                                                                                                                               j
                                           . .; .        .                                  ''+.? ,,A.                                                         r
                 i(                            ,.tK . .z                                        h..-
                                                                                                   C::                                                         .
                #
                .
                                   '      . ..A' w
                                                  . x
                                                    ;;. '                                           w>
                                                                                                                                                               ,
                                                                                                                                                               I
                                                                                                                                                               !
                                                                                                                                                                                                                                                                                            x   x
            ,
                L
                f
                :                        .k      =
                                                    o             .
                                                                   .                                œ
                                                                                                    o        xx                                                ,                                                                                                                         Rj
                                                                                                                                                                                                                                                                                         .       5%
                '.
                l
                .
                j
                >
                -'.                               ,
                                                   'k
                                                  -j
                                                    '''
                                                   ,jr            .
                                                                  .
                                                                                                   ''$
                                                                                                    j
                                                                                                    ,
                                                                                                     '
                                                                                                    ,j
                                                                                                   .,,
                                                                                                     ;    (..,.
                                                                                                          q...                                                                                         l            l             .                                                !
                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                   jj(
                                                                                                                                                                                                                                                                                   :: 1
                                                                                                                                                                                                                                                                                      :::2
                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                         1       ''''.
                                                                                                                                                                                                                                                                                                (.n
                                                                                                                                                                                                                                                                                                     ''''.
                                                                                                                                                                                                                                                                                                         d''
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           I.
                                                                                                                                                                                                                                                                                                            II
                                                                                                                                                                                                                                                                                                             .,
                                               ,, .
                j
                .
                .=
                .u- A
                               .
                               j
                                               .
                                                              ,à.N
                                                                 ,
                                                                 û
                                                                 ,!
                                                                  wA.- -ç,
                                                                         lx                                                                                                                             . ,:             ,        -
                                                                                                                                                                                                                                                                                   n v
                          ..
                                      . . .         .   b
                                                             '
                                                             .
                                                                        a.
                                                                          . .z-. -
                                                                                    - w...    n xx.A.?Ir                     . -      ,
                                                                                                                            . p v w'-o- r'
                                                                                                                                         ...''i
                                                                                                                                                                                                                        ..                *                                             w
                                                                                                                                                                                                                                                                                                (.
                                                                                                                                                                                                                                                                                                 j7
            '
        j   .
                                            W
                                            ttr%' C .e..+F
                                                  > qw.                                          .
                                                                                                 $,y   :Ip  ..
                                                                                                             ,
                                                                                                             .
                                                                                                             a                                   .
                                                                                                                                                 'yxuz.                                                                                                                    G :.                  pxc
        ë
        l
        .
                                    '
                                        :kp
                                          '
                                          . 't
                                             :
                                             *  4.;: .
                                              >,)                                                jjjjhy
                                                                                                      ..
                                                                                                       1
                                                                                                       ..
                                                                                                        l
                                                                                                        k.
                                                                                                        j..K'.
                                                                                                          j
                                                                                                          k
                                                                                                                            .'
                                                                                                                                                 z'
                                                                                                                                                  .ej
                                                                                                                                                    t
                                                                                                                                                    r,                                                                                                                 .
                                                                                                                                                                                                                                                                           11,
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                             ,.
                                                                                                                                                                                                                                                                              .,
                                                                                                                                                                                                                                                                               . '
                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                  dI
                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                   1j
        j                                           p.
                                                    r                                            .
                                                                                                 0Ax   k?
            .. .
                ., ,
                                                                                                          ?.
                                                                                                           ..                                      &
                                                                                                                                                   *.                                                                                                                      1
            ,                                                                                                 .
        o .-.
        j
        .
               z,                        -
                                                              p     - .... 5x J hr - g ...w o    ox.g
                                                                                                 . q. ,
                                                                                                                    t
                                                                                                                            , .       ..
                                                                                                                                                   <
                                                                                                                                                   .
                                                                                                                                                                                                                                                                           k F- Q                       a
        v             .                                       <.' m                                               .
                                                                                    --- - -                                                   - -'1-*'

            ur
                t
                .         ..              . ,                          - ..
                                                                      ,.                .
                                                                                            -   k--v.-,
                                                                                                      -..-.             .
                                                                                                                            '                        .--
                                                                                                                                                           k                                                                                                               0. Q X
                                          :1cLœk
                                               r                  y.
                                                                   ,                     .j.k1'e ;
                                                                                                 ,
                                                                                                 :/
                                                                                                  '. ..
                                                                                                      .                                       F*'wx ,
                                         ,p                                                                                                                                                                                   .
   ,.       .                        .
                                         s.. >                                                    . ..                                         .w k                                                                          ..                                                ja               *
                                                                                                                                                                                                                                                                                                    m
' d
.!
. ;
  7'
    .
                               ''.
                                     f'' 'ï2:ï:'' '. ,'-''
                                    ,'
                                   .'
                                                      .2
                                                       p.
                                                                                       X1!m
                                                                                       ''i
                                                                                      rï1
                                                                                       ' '','
                                                                                          ,.
                                                                                          2
                                                                                          .: (. '
                                                                                            ':
                                                                                            :.'
                                                                                              :. f
                                                                                                 'n
                                                                                                 J.''
                                                                                                  '                 .                    '           z
                                                                                                                                                     : 'q
                                                                                                                                                     ''b k..
                                                                                                                                                                                                                        .'                                                     s
                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                            O c'
                                                                                                                                                                                                                                                                                               -'-*.
.i.''
        b                                      ,,
                                               .k.
                                                l. j. ê.'
                                              .ld
                                              jjj .
                                                                                    ,jj
                                                                                   jj
                                                                                    f
                                                                                     .
                                                                                    .$
                                                                                     .j
                                                                                     yy
                                                                                      l
                                                                                      t
                                                                                      dt
                                                                                       .
                                                                                      ..
                                                                                            .::,
                                                                                           .i..
                                                                                           '
                                                                                       gj.yjj,
                                                                                       y
                                                                                   q .y yyy
                                                                                                               ':IF
                                                                                                             ..'
                                                                                                             ï.L.
                                                                                                             ,                    .
                                                                                                                                                  àk
                                                                                                                                                   .k
                                                                                                                                                    .u
                                                                                                                                                  :j;,
                                                                                                                                                 jjj
                                                                                                                                                   y,                                                                                                                      .   jj
                                                                                                                                                                                                                                                                                g
                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                ,j
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                 .s
                                                                                                                                                                                                                                                                                    jj
                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                     s
                                                                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                                                                     q
                                                                                                                                                                                                                                                                                     sjj
                                                                                                                                                                                                                                                                                      l jj
                                                                                                                                                                                                                                                                                         gjj
                                                                                                                                                                                                                                                                                           s
                                                                                                                                                                                                                                                                                           g
                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                           gj41jj
                                                                                                                                                                                                                                                                                                11
                                                                                                                                                                                                                                                                                                 '
r .
  zfr                                    . ....                   ..
                                                                   .               .                  -
                                                                                                 y.t....          .                .p.                    %
        ,.                                                         ..                            .                                                    a
    l
    p                                         t
                                              u
                                              u
                                              zk.
                                                -
                                                .Q!'
                                                   k
                                                   r
                                                   $
                                                   !          '.
                                                              .
                                                                                     .'uw x
                                                                                          t-.i
                                                                                        z k jr..J>   .
                                                                                                                                             .'
                                                                                                                                              .:x.
                                                                                                                                                 a.r                                                                              . .              X
    .                                        œ. q
                                                x                                              oœ k    ;,
                                                                                                   kh ''
                                                                                                         !                                      w
                                                                                                                                                ar
'
    .
    .
    ,                                        u.
                                             < A t1'
                                                        :;                                     u. ..
                                                                                       ''''''' < %.
                                                                                                         8.
                                                                                                          v.
                                                                                                          .                                    o                                                                                   .         .
                                                                                                                                                                                                                                                        xx
''..'                                          t'' .'  i''                                   ''- i '. '
                                                                                                     ,
                                                                                                     y
                                                                                                     !
                                                                                                     .
                                                                                                     :j
                                                                                                      t
                                                                                                      ' h:                                     u
                                                                                                                                               .
                                                                                                                                               <
                                                                                                                                               d
                                                                                                                                               .
                                                                                                                                               ,                                                                                             .           ''h
                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                           d
à                     .........-.............. ::, .-, -u.,        . ..      ................. . rk                                                                                                                                                        .-yu
                                                  .,    ... ..
                                                             u     .-
                                                                    ,                             ,.J .qj.
                                                                                                yyy                 .?s          .................                                                                                     ..
                                                                                                                                                                                                                                        ,à,36;3f

                                                                                                                                                                                                                                                                      D
                                                                                                                                                                                                                                                       AAf .          <
                                                                                                                                                                                                                                                   ç
                                                                                                                                                                                                                                                                  '                '
                                                                                                                                                                                                                                                             .                     ..

                                                                                                                                                                                                                                                             Z 1
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                 e k1
                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                           =
                                                                                                                                                                                                                                                                           oçr >
                                                                                                                                                                                                                                                                               -*
                                                                                                                                                                                                                                                                                    C-m
                                                                                                                                                                                                                                                                           (2           < *
                                                                                                                                                                                                                                                                                          m
                                                                                                                                                                                                                                                                           Y '* O *
                                                                                                                                                                                                                                                                  j).i
                                                                                                                                                                                                                                                                     !z
                                                                                                                                                                                                                                                                    c.)
                                                                                                                                                                                                                                                                      -o? 9= a
                                                                                                                                                                                                                                                                          ' a.(0
                                                                                                                                                                                                                                                                          u
                                                                                                                                                                                                                                                                  %                :
                                                                                                                                                                                                                                                                                   @)
                                                                                                                                                                                                                                                                                    pz '--
                                                                                                                                                                                                                                                                                         .=
                                                                                                                                                                                                                                                                  C
                                                                                                                                                                                                                                                                  c -d s E a
                                                                                                                                                                                                                                                                    '-Q? o (
                                                                                                                                                                                                                                                                           0 .9 ';
                                                                                                                                                                                                                                                                  m
                                                                                                                                                                                                                                                                     (.)u.w u D
                                                                                                                                                                                                                                                                  c
                                                                                                                                                                                                                                                                  N
                                                                                                                                                                                                                                                                  c)




                                                                                                                                                       r'h; m o c)
                                                                                                                                                           .- xc       jg
                                                                                                                                                                          g
                                                                                                                                                         .1
                                                                                                                                                          ?m Y: ,-G z=kJ#
                                                                                                                                                     l m * GV'= G d t-  a
                                                                                                                                                                        ,.'
                                                                                                         a:                                            n CG xz aQ a .0 Y c
                                                                                                         l   =                 y
                                                                                                                               cq  j,o                     c)s
                                                                                                                                     42.o4. o)                         . .
                                                                                                         s.
                                                                                                         z
                                                                                                          uo p
                                                                                                          .
                                                                                                             o.-
                                                                                                             < X
                                                                                                                      g
                                                                                                                      D> o .k:cx, .o u    -Gc                                         .
                                                                                                         tzlO m'     :s *-
                                                                                                                         o o > p '-
                                     =                                                                   tncut =o        g  8O
                                                                                                                         (7)n  :.'Gytd* f
                                                                                                                                        c a.G
                                                                                                                                            2                            .

                                                                                                         uz o
                                                                                                         <     Nr    q'zo.  G s g.c  oq o:
                                                                                                         0R       -N à;k(--
                                                                                                                          7cy1936 w  o û- o
                                    Q œ
                                    œ =                                                                     o- =
                                                                                                               y- ! o
                                                                                                               w                            m
                       o (D u7
                             o                                                                           Oà
                                                                                                         -
                                                                                                                     u a .x o.u o @.       g
                    o(Do 'i5 %                                                                           Lu (/)=- >    .                                   ç
                                                                                                                                                           oy
                                                                                                                                                           c c2 c
                                                                                                                                                               .
                                                                                                                                                                *
                                                                                                                                                                wO wp
                                                                                                                                                                   c      y *w
                                                                                                                                                                      -w : *
                    Y ll
                       n  u?x  to                                                                        75 tu o                             $             n                y uy .
                    a. # Lo jz
                           r o                    a ..                                                   =
                                                                                                         <= LuF-                                           ym
                                                                                                                                                             .-
                                                                                                                                                             (boj.zg
                                                                                                                                                                   o wq
                                                                                                                                                                      fu .-
                                                                                                                                                                            O*g :)
             t)u
               rx
               m o>
                  -g .c
                      q-y
                        a)'                                                                              (z:v-(z-
                                                                                                                9                         (X = 5 y * any N
                                                                                                                                                   g.f   e,gu?..
                                                                                                                                                         .     u
                                                                                                                                                               c             .

            &
            *
                                                                                                         uaoco -
                                                                                                               x                                          (pvo. j
                                                                                                                                                          .      g o.q tcp x)o   .

            o Io
               *m k$a
                 o= ç
                  o >
                      .
                      0
                      a
                    of'
                      ë
                                         .
                                                                                                      Eu
                                                                                                      t D co tu                              ... '
                                                                                                                                                 î
                                                                                                                                                 to (           (5 u = a o r o
                                                                                                                                                    f.,rc . .a y co o >
                                                                                                      tz- =                                  F- po $
                                                                                                                                             <       5c s om o -- y no
            mI = 1 œ = D                                                                                                                     cl r
                                                                                                                                                                   .

            r
            D
                                                                                                                                                 G5Fo   $ '
                                                                                                                                                          g
                                                                                                                                                    G .o y F
                                                                                                                                                            z
                                                                                                                                                            =
                                                                                                                                                             .
                                                                                                                                                               -f
                                                                                                                                                                5x1G
                                                                                                                                                             s =* : c
                                                                                                                                                                    o*o               .

            N                                                                                                                                         .
                                                                                                                                                          c) o
                                                                                                                                                          T
                                                                                                                                                               s
                                                                                                                                                               n -- o' M 4) O G
                                                                                                                                                                            & '
            c                                                                                                                                                                    .,               .             J
                                                                                                                  .-                                           -
                                                                                                                                                                                                      . ...,, %
